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                          UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                               ALEXANDRIA DIVISION

   IN RE: CAPITAL ONE CONSUMER               )
   DATA SECURITY BREACH LITIGATION           )       MDL No. 1:19md2915 (AJT/JFA)
   __________________________________________)

   This Document Relates to CONSUMER Cases
   __________________________________________

      CAPITAL ONE AND AMAZON’S OPPOSITION TO PLAINTIFFS’ RULE 72(a)
         OBJECTION TO ORDER STAYING ORDER ON MOTIONS TO SEAL


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                                            INTRODUCTION

          Judge Anderson’s October 18, 2021 Order challenged by Plaintiffs held that “the

   undersigned will defer any action on these motions to seal until further action by the District

   Judge.” Dkt. 2050 at 3. Judge Anderson’s procedural decision to defer his ruling on the motions

   to seal is neither contrary to law nor clearly erroneous. Far from it. There is no requirement that

   Judge Anderson issue rulings on any specific timeline, and he certainly has discretion to defer

   ruling on issues, like those here, that may become moot. In fact, such deferral is particularly

   appropriate here because the Court may not rule on the dispositive motions at all given the pending

   jurisdictional challenges. Plaintiffs’ Objection should be overruld on this threshold basis alone.

          Yet, Plaintiffs’ Objection also fails because it is based on blatant misrepresentations

   regarding the record. Plaintiffs’ Objection seeks to confuse the issue at hand by suggesting that

   Judge Anderson’s Order stays final rulings unsealing certain documents to which Defendants

   never objected. This is plainly false. Judge Anderson made clear that his determinations during

   the September 10 hearing and in his September 13 Order were provisional rulings and that he

   would issue his final ruling after the parties provided the Court with additional information. Judge

   Anderson also made it clear, in response to direct questioning from Capital One’s counsel on this

   precise issue, that the clock for any Rule 72 objections on unsealing determinations would not

   begin to run until he issued that final order. That final order still has not been issued because Judge

   Anderson decided to defer that ruling.

          Plaintiffs’ challenge to Judge Anderson’s decision also fails because Fourth Circuit

   authority effectively requires Judge Anderson to defer ruling on the motions to seal. The First

   Amendment right of access does not attach until this Court relies on or considers the materials at

   issue in ruling on dispositive motions. Thus, Judge Anderson properly decided to defer his final



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   ruling until this Court rules on the underlying substantive motions, which may moot the issue

   entirely if the case is dismissed for lack of subject matter jurisdiction.

           Contrary to Plaintiffs’ attempted distortions of the record, Judge Anderson’s ability to defer

   the timing of his own rulings is the only issue before this Court on Plaintiffs’ Objection. And

   because Judge Anderson’s decision to defer ruling does not stay any final ruling at all, the four-

   factor analysis articulated in Hilton v. Braunskill, 481 U.S. 770 (1987) is not relevant to this

   Court’s review of Plaintiffs’ Objection. But even if those factors were relevant, all four would

   weigh in favor of a deferred ruling. First, Defendants demonstrated they would suffer immediate

   and irreparable harm the moment their security-sensitive material, confidential business

   information, and trade secrets were prematurely disclosed. Second, Defendants—not Plaintiffs—

   are likely to succeed on the merits because (1) Fourth Circuit authority requires the Court to defer

   ruling on the sealing motions, (2) Judge Anderson applied the incorrect standard in his provisional

   ruling to many of the documents at issue, and (3) Defendants demonstrated that the information in

   the documents met the applicable standards for sealing. Third, Plaintiffs are not prejudiced by the

   deferral because they have access to all of the documents at issue. Fourth, preventing security-

   sensitive information from falling into the hands of malicious actors who could use it to commit

   further cyberattacks is in the public’s interest.

           No member of the public has ever objected to any of Defendants’ motions to seal.

   Ironically, Plaintiffs are the only ones who have objected to keeping these materials sealed.

   Plaintiffs have argued that Defendants breached a duty to safeguard their personal data from

   unauthorized access by Paige Thompson, the criminal hacker responsible for the Cyber Incident,

   and that Plaintiffs suffered harm as a result. But now Plaintiffs seek to have sensitive information

   that goes to the heart of Defendants’ cybersecurity defenses—the defenses designed to protect the



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   individuals Plaintiffs purport to represent and other similarly situated customers—exposed to the

   public immediately.

          The only way to reconcile these contradictory positions is to view Plaintiffs’ gambit for

   what it is: a transparent attempt to gain some type of leverage over Defendants by pressing to have

   their sensitive cybersecurity documents unsealed while the Court considers the pending

   jurisdictional challenges and dispositive motions. This Court should reject that improper effort

   and overrule the Objection.

                                           BACKGROUND

          For the majority of this case, Plaintiffs did not challenge Defendants’ motions to seal,

   agreeing that Defendants’ confidential, cybersecurity sensitive information should not be part of

   the public record. Beginning in late July 2021, however—nearly two years into this litigation,

   after the hearing on the standing and class certification motions, and while the parties were in the

   middle of summary judgment briefing—Plaintiffs began challenging Defendants’ sealing motions.

   See Dkts. 1791; 1803; 1810; 1844; 1849. In several filings, Plaintiffs contended, for the first time,

   that the First Amendment standard for sealing applied to briefs, exhibits, and hearing presentations

   filed in connection with Defendants’ Article III standing motion, the parties’ motions for summary

   judgment, and Plaintiffs’ Motion for Class Certification. Plaintiffs made this assertion even though

   Plaintiffs had not raised the First Amendment argument in connection with Defendants’ initial

   Motion Suggesting Lack of Subject Matter Jurisdiction, Defendants’ motions for summary

   judgment, any of the briefs filed in connection with Plaintiffs’ Motion for Class Certification, or

   Plaintiffs’ own Motion for Partial Summary Judgment.1



   1
     Compare Dkts. 1791; 1803; 1810; 1844; 1848; 1849 with, e.g., Dkt. 1468 (Plaintiffs’ arguing
   that a common law right of access applies to the opening brief in support of Capital One’s Motion


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          On September 10, 2021, Judge Anderson held a hearing regarding eleven motions to seal

   related to briefs, exhibits, and hearing PowerPoint presentations filed in connection with

   Defendants’ Article III standing motions, the parties’ motions for summary judgment, Plaintiffs’

   motion for class certification, and Capital One’s motion in limine regarding OCC documents. See

   9/10/2021 Hr’g Tr. at 1; Dkt. 2050 at 1 (October 18, 2021 Order) (listing motions to seal and

   describing the substantive motions they concerned). Plaintiffs argued that materials connected

   with each of these motions should be assessed under the more rigorous First Amendment standard.

   During this hearing, Judge Anderson reviewed the briefs, exhibits, and presentations at issue and

   made provisional rulings regarding (1) what standards governed the sealing analyses, and (2) what

   information should be sealed or unsealed. Judge Anderson determined that the First Amendment

   standard applied to materials filed in connection with class certification, summary judgment, and

   Defendants’ briefing regarding this Court’s subject matter jurisdiction. See, e.g., id. at 15:20–25

   (applying First Amendment standard to brief concerning subject matter jurisdiction); id. at 40:7–

   12 (applying First Amendment standard to class certification filing); id. at 123:12–18 (applying

   First Amendment standard to motion in limine connected to summary judgment). Judge Anderson

   also determined that only certain categories of information could be sealed under the First

   Amendment standard. See, e.g., id. at 8:25–9:2 (stating “information that relates to the current

   [technology] architecture and system that is in place” satisfies the First Amendment standard); id.




   Suggesting Lack of Jurisdiction); Dkt. 1471 (same for Capital One’s Opposition to Plaintiffs’
   Motion for Class Certification); Dkt. 1495 (same for the opening brief in support of Capital One’s
   Motion for Summary Judgment); Dkt. 1642 (same for the opening brief in support of Plaintiffs’
   Motion for Partial Summary Judgment for Breach of Contract); see also Obj. at 11–12 n.2
   (Plaintiffs’ admitting their change in position on the sealing of class certification-related
   materials).

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   at 9:12–19 (stating information relating to “remediation efforts” satisfies the First Amendment

   standard and observing that “the public needs to be protected”).

          At multiple points throughout the hearing, Judge Anderson requested that the parties

   submit “additional information” that he could “consider” to finalize his provisional rulings. See

   id. at 97:25–98:2 (“[Y]ou can provide me with some additional information and I’ll consider it.”);

   id. at 138:11–13 (referencing the parties providing “additional information”); id. at 138:14–21

   (similar); id. at 140:3–5 (“I’m giving you the ability to provide me with additional information on

   certain parameters.”). Judge Anderson also stated that he would issue a final order only after

   considering the parties’ additional information. See id. at 140:8–12 (“So, you know, obviously, if

   you’re asking me to reconsider or look at additional information as to exhibit so and so . . . then

   this isn’t a final ruling. So my final ruling will be when I make a decision on that submission

   . . . .” (emphasis added)). Finally, Judge Anderson clarified, in response to direct questioning from

   Defendants’ counsel, that the parties should file Rule 72(a) objections only after he considered the

   parties’ additional submissions and issued final rulings:

          Capital One’s Counsel: “Your Honor, I just want to make absolutely sure I’m clear
          about today’s order. Today’s order is more on the nature of a provisional order.
          And the order from which any Rule 72 objection would stem, would be the order
          in two weeks, is that correct?”

          The Court: “Right. . . . .”

   Id. at 139:23–140:3; see also id. at 138:4–7 (Capital One’s counsel: “We just want to make sure

   that we’re on the same page about what that means in terms of any objections, if we have any, and

   when that should be placed on the record.”); id. at 140:8–12 (The Court: “[I]f you’re asking me to

   reconsider or look at additional information as to exhibit so and so, and filing such and such, then

   this isn’t a final ruling. So my final ruling will be when I make a decision on that submission

   . . . .” (emphasis added)); id. at 138:21–24 (“And then if I ultimately deny that, then you would


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   have the ability to file an objection, or request for reconsideration in front of a district judge within

   14 days of that order.”).

           On September 13, 2021, Judge Anderson issued a provisional Order granting in part and

   denying in part the parties’ motions to seal. See Dkt. 1955 (“September 13 Order”). Judge

   Anderson noted that “[g]iven the large volume of information involved in these various motions

   and the realization that certain types of information that the court had indicated could remain under

   seal had been overlooked in reviewing the materials, the court granted counsels’ request that they

   be allowed to provide additional information . . . .” Id. at 2–3. The September 13 Order also

   required that “[a]ll redactions and documents that are not the subject of a submission filed in a

   timely manner should be filed in the public record by the party who initially filed that information

   under seal by September 29, 2021.” Id. at 3 (emphasis added)); see also 9/10/2021 Hr’g Tr. at

   139:2–4 (“I have indicated what my ruling is, and [if] you are not contesting that, those documents

   need to be filed in the public record . . . within 14 days from today.”).

           On September 27, 2021, pursuant to Judge Anderson’s request, Defendants filed

   Confidential Memoranda and supporting Declarations providing Judge Anderson with this

   additional information contesting the unsealing of Defendants’ documents. See Dkt. 1991 (Capital

   One’s Confidential Memorandum); Dkt. 1992 (Amazon’s Confidential Memorandum). The

   Confidential Memoranda reiterated Capital One’s arguments, made at the September 10 hearing,

   that the First Amendment did not apply to certain of the at-issue materials and that sealing

   determinations were premature at this time under Fourth Circuit law.                 The Confidential

   Memoranda also provided Judge Anderson with additional detailed showings about why

   information in Defendants’ documents fell into the categories of information he had identified as

   satisfying the First Amendment standard. Specifically, Capital One’s 42-page Confidential



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   Memorandum—which is supported by a 24-page Declaration executed by the Chief Technology

   Officer of Capital One’s cybersecurity organization (see Dkt. 1991-1)—set out, in document-by-

   document, page-by-page, and redaction-by-redaction detail, precisely the information that must be

   protected under even the First Amendment standard.           Likewise, Amazon filed a 25-page

   Confidential Memorandum—itself supported by four separate declarations totaling 16 additional

   pages (see Dkts. 1992-1–4)—that makes the same showings.

          The same day Defendants filed their Confidential Memoranda, Defendants also filed a Joint

   Motion to Stay. See Dkt. 2005. Judge Anderson expressly suggested that Defendants file such a

   motion at the September 10, 2021 hearing. See 9/10/2021 Hr’g Tr. at 138:14–21 (“To the extent

   that you’re going to ask that my order is held in abeyance or stayed, maybe you should file

   something along with your response providing additional information . . . .”). In the Motion to

   Stay, Defendants moved to stay Judge Anderson’s forthcoming final order on the sealing motions,

   clearly expressing their intent to file Rule 72 objections to any order unsealing the documents

   addressed in their Confidential Memoranda. Dkt. 2005 at 3. Defendants also showed that a stay

   of that forthcoming final order would be warranted while Defendants’ objections were pending

   under the four-factor analysis articulated in Hilton v. Braunskill, 481 U.S. 770 (1987).

   Specifically, Defendants demonstrated that Judge Anderson would err by not deferring a ruling on

   the sealing motions until after the pending dispositive motions were decided, by applying the First

   Amendment standard to the class certification and jurisdictional motions, and by finding that

   certain of the at-issue materials did not satisfy the First Amendment standard. Defendants also

   demonstrated that they would be irreparably harmed by the premature disclosure of their security-

   sensitive material, confidential business information, and trade secrets and that neither Plaintiffs

   nor the public would be harmed by a stay. See Dkt. 2005 at 8–10. Plaintiffs filed their Opposition



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   on October 4, 2021 (Dkt. 2032) and Defendants filed their Joint Reply on October 7, 2021 (Dkt.

   2039).

            Also on September 27, 2021, Capital One filed a Motion to Strike or Withdraw Certain

   Exhibits Associated with Pending Motions. See Dkt. 2008. In that motion, Capital One requested

   that the Court strike from the public record the demonstrative presentation slides Plaintiffs used

   during argument on their Motion for Class Certification and eight exhibits attached to Plaintiffs’

   Opposition to Capital One’s Motion for Summary Judgment. Dkt. 2009 at 6–18. Capital One also

   sought to withdraw or file more limited excerpts of ten exhibits attached to its Opposition to

   Plaintiffs’ Motion for Partial Summary Judgment for Breach of Contract. See id. at 18–21. As

   Capital One explained, it filed the Motion to Strike or Withdraw because of the “risk that the

   documents it concerns will improperly be made publicly available” given Plaintiffs’ position on

   sealing issues. Dkt. 2051 at 1; see also 10/20/21 Hr’g Tr. at 5:7–15; id. at 6:18–21.

            Before the October 20, 2021 hearing on the motion to strike, Judge Anderson issued the

   October 18, 2021 Order to which Plaintiffs now object. In that Order, Judge Anderson stated that

   he would “defer any action on these motions to seal” until this Court rules on the parties’

   substantive motions. See Dkt. 2050 at 3. Specifically, Judge Anderson found that “the[] motions

   to seal involve filings related to motions that may never be decided by the court,” that “plaintiffs’

   counsel has access to the documents” at issue, and that “no opposition to these motions to seal has

   been asserted by any nonparty.” Id.

            Judge Anderson’s October 18, 2021 Order was a focus of this Court’s analysis at the

   October 20, 2021 hearing on the Motion to Strike or Withdraw. See 10/20/21 Hr’g Tr. at 6:9–17.

   The Court followed a course that essentially mirrored that taken by Judge Anderson by deferring

   ruling. Specifically, the Court explained that it viewed Judge Anderson’s October 18, 2021 Order



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   as “sufficiently protect[ing]” the documents Capital One sought to protect from public release

   through its Motion to Strike or Withdraw. Id. at 35:12–15. The Court also explained that it

   considered “[t]he nature of the [M]otion [to Strike or Withdraw a]s really in the nature of a

   housekeeping issue with respect to what should be part of the record and, if so, whether the record

   should contain those portions under seal or not under seal.” Id. at 35:2–6. The Court accordingly

   found that “the best course” was for “the Court . . . to go ahead and decide the pending . . . class

   certification and summary judgment motions, on the present record” and “defer ruling on” what

   documents are properly part of the public record until those motions are decided. Id. at 35:9–11,

   35:16–20.

          On November 1, 2021, Plaintiffs filed a Rule 72(a) Objection to Judge Anderson’s October

   18, 2021 Order. See Dkt. 2073.

                                        LEGAL STANDARDS

          Rule 72(a) states that the District Judge should only set aside orders on non-dispositive

   motions that are “clearly erroneous” or “contrary to law.” Fed. R. Civ. P. 72(a). An order is

   “clearly erroneous” where “the reviewing court on the entire evidence is left with the definite and

   firm conviction that a mistake has been committed.” United States v. U.S. Gypsum Co., 333 U.S.

   364, 395 (1948). And “an order is contrary to law ‘when it fails to apply or misapplies relevant

   statutes, case law, or rules of procedures.’” MeadWestvaco Corp. v. Rexam, PLC, No. 1:10cv511

   (GBL/TRJ), 2011 WL 2938456, at *2 (E.D. Va. July 18, 2011).

                                             ARGUMENT

   I.     NOTHING REQUIRES JUDGE ANDERSON TO ISSUE AN IMMEDIATE
          RULING ON THE MOTIONS TO SEAL.

          As a threshold matter, Plaintiffs’ Objection fails because it seeks to challenge Judge

   Anderson’s decision not to issue a ruling at this time. Judge Anderson’s Order was clear: he would


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   “defer any action on [the motions to seal] until further action by” this Court. Dkt. 2050 at 3.

   Nothing about Judge Anderson’s decision to decide the motions at a later time is contrary to law.

   In fact, no law or rule requires Judge Anderson to rule on the sealing motions—or any motion, for

   that matter—within any particular timeline.2

          It is well established that federal judges have near plenary authority to manage their

   dockets. See, e.g., Dietz v. Bouldin, 136 S. Ct. 1885, 1892 (2016). Judge Anderson’s decision to

   defer ruling on the motions to seal (like this Court’s decision to defer ruling on the related Motion

   to Strike or Withdraw) falls squarely within that inherent authority. Further, because the sealing

   motions may become moot by the dismissal of this case on jurisdictional grounds, Judge

   Anderson’s decision to defer ruling conserves judicial resources while preserving the status quo.

   The fallacy of Plaintiffs’ position is highlighted by the fact that Judge Anderson could have

   deferred ruling on the sealing motions without issuing an order at all, and Plaintiffs would have no

   recourse to challenge such a deferral. This simple fact is reason enough to deny Plaintiffs’

   Objection.



   2
     In essence, Plaintiffs’ Objection—which seeks to compel Judge Anderson to issue an immediate
   order on the motions to seal—is a petition for writ of mandamus by another name. United States
   v. Moussaoui, 333 F.3d 509, 513 n.5 (4th Cir. 2003) (explaining that mandamus is the appropriate
   procedural device to challenge a court’s “refus[al] to rule on a motion”); Mandamus, Black’s Law
   Dictionary (11th ed. 2019) (defining mandamus as a “writ issued by a court to compel performance
   of a particular act”). But mandamus is an extraordinary remedy that is seldom granted. See, e.g.,
   Kerr v. U.S. Dist. Court, 426 U.S. 394, 402 (1976); In re Murphy-Brown, LLC, 907 F.3d 788, 795
   (4th Cir. 2018). Moreover, Plaintiffs have made no showing that they are entitled to that
   extraordinary relief. See Murphy-Brown, 907 F.3d at 795 (“Courts provide mandamus relief only
   when (1) petitioner has no other adequate means to attain the relief it desires; (2) petitioner has
   shown a clear and indisputable right to the requested relief; and (3) the court deems the writ
   appropriate under the circumstances.” (alterations accepted and internal quotation marks omitted)).
   Nor could they because Judge Anderson’s decision on when to rule on the pending motions to seal
   is fully within his discretion. See Allied Chem. Corp. v. Daiflon, Inc., 449 U.S. 33, 36 (1980)
   (“Where a matter is committed to discretion, it cannot be said that a litigant’s right to a particular
   result is ‘clear and indisputable.’”).

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   II.      JUDGE ANDERSON’S DECISION TO DEFER RULING ON THE SEALING
            MOTIONS IS NOT CONTRARY TO LAW.

            Plaintiffs’ Objection is improper and fails at the threshold for the reasons set out in Section

   I above. But even if the Court were to consider the merits, Plaintiffs’ Objection fails there as well.

   Specifically, the Objection is based on two false premises: (1) that Judge Anderson issued a final,

   appealable order, and (2) that Judge Anderson’s decision to defer is contrary to law. Neither of

   these are true, thus the Objection should be overruled.

         A. Judge Anderson Has Not Issued a Final Ruling on the Eleven Sealing Motions.

            Plaintiffs’ Objection rests on misrepresentations of Judge Anderson’s determinations at the

   September 10, 2021, hearing and subsequent September 13, 2021, Order as “a final determination

   on the merits.” Obj. at 13; see also id. at 1; Dkt. 2040 at 11 (Plaintiffs stating in their Opposition

   to the Motion to Strike or Withdraw that the September 13, 2021, Order “is final.”). Contrary to

   Plaintiffs’ misrepresentations, Judge Anderson’s determinations were not final, and Defendants

   were not required to object to them within the fourteen days allowed under Federal Rule of Civil

   Procedure 72(a).

            Beginning with the September 10, 2021, hearing, Judge Anderson made unequivocally

   clear that his determinations were “provisional,” not final. 9/10/2021 Hr’g Tr. at 139: 23–140:3.

   After making his provisional rulings, Judge Anderson expressly requested that Defendants provide

   the Court with additional information. See, e.g., id. at 97:25–98:2 (“[Y]ou can provide me with

   some additional information and I’ll consider it.”); id. at 138:11–13 (referencing the parties

   providing “additional information”); id. at 138:14–21 (similar); id. at 140:3–5 (“I’m giving you

   the ability to provide me with additional information on certain parameters.”). If a party submitted

   such information, Judge Anderson stated that he would “consider[] . . . that additional

   information,” id. at 138:20–21, and then issue a final order after considering that additional


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   information, see id. at 140:8–12 (“So, you know, obviously, if you’re asking me to reconsider or

   look at additional information as to exhibit so and so . . . then this isn’t a final ruling. So my final

   ruling will be when I make a decision on that submission . . . .” (emphasis added)).

          Judge Anderson’s September 13, 2021, Order is not final, either. That Order only required

   the parties to publicly file documents that were not the subject of the supplemental sealing

   submissions Judge Anderson requested at the September 10, 2021, hearing. See Dkt. 1955 at 3

   (“[T]he court granted counsels’ request that they be allowed to provide additional information

   concerning some of the redactions to the pleadings and exhibits to address why that specific

   information should remain under seal. . . . All redactions and documents that are not the subject

   of a submission filed in a timely manner should be filed in the public record by the party who

   initially filed that information under seal by September 29, 2021.” (emphasis added)). Put another

   way, the September 13 Order’s filing provisions applied only to those documents where all parties

   “agree[d]” with Judge Anderson’s provisional sealing determinations. See id.; see also 9/10/2021

   Hr’g Tr. at 138:25–139:8 (Judge Anderson explaining the same). And Defendants did not agree.

   Rather, Defendants’ supplemental Confidential Memoranda and supporting Declarations

   exhaustively set out their disagreements with Judge Anderson’s provisional sealing

   determinations. See Dkts. 1991; 1992.

          Plaintiffs also misrepresent the record when they state that Defendants’ Joint Motion to

   Stay (Dkt. 2004) Judge Anderson’s forthcoming final order was “forbidden” by Judge Anderson.

   Obj. at 10. To the contrary, Judge Anderson expressly stated that a Motion to Stay may be

   necessary. See 9/10/2021 Hr’g Tr. at 138:14–21 (“To the extent that you’re going to ask that my

   order is held in abeyance or stayed, maybe you should file something along with your response

   providing additional information . . . .”).



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          Finally, Plaintiffs’ assertion that Defendants failed to timely lodge their Rule 72(a)

   objections is wrong. See Obj. at 8, 10, 14 n.4, 18, 23. In response to specific questions by Capital

   One’s counsel regarding the timing of any Rule 72 objections, Judge Anderson was clear that he

   would issue a final order only after considering any additional information submitted by the parties

   in their supplemental submissions, and “then if I ultimately deny that, then you would have the

   ability to file an objection, or request for reconsideration in front of the district judge within 14

   days of that order.” 9/10/2021 Hr’g Tr. at 138:21–24 (emphasis added). And that has not yet

   occurred because Judge Anderson decided to defer ruling.

          Tellingly, Plaintiffs cite nothing from the September 10, 2021, hearing transcript or the

   September 13 Order indicating that either is “a final determination on the merits” or suggesting

   that Defendants were required to file Rule 72(a) objections within fourteen days of those dates.

   See Obj. at 1, 10, 13, 14 n.4, 18, 23. Nor could Plaintiffs make such a showing. Judge Anderson’s

   statements were unambiguous and were made in response to direct questions from Capital One’s

   counsel about challenging any unsealing determinations. See supra pp. 5–6. Further, Plaintiffs

   make no attempt to reconcile Judge Anderson’s request for “additional information”—which

   Defendants were not required to provide until September 27, 2021—with their position that Judge

   Anderson has already made final determinations.           Plaintiffs’ misrepresentations of Judge

   Anderson’s repeated and explicit directions are supported by neither the record nor logic. This

   Court should reject Plaintiffs’ attempt to manufacture a “procedural gotcha” with no basis in the

   record and deny the Objection.

      B. Judge Anderson’s Decision to Defer Ruling Is Not Contrary to Law.

          Setting aside Plaintiffs’ misrepresentations regarding the state of Judge Anderson’s

   provisional sealing determinations, Judge Anderson’s decision to defer final ruling on the sealing



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   motions was not contrary to law. In fact, Fourth Circuit authority effectively compels such

   deferral.3 The First Amendment right of access attaches only to documents “if they play a role in

   the adjudicative process, or adjudicate substantive rights.” In re Application of United States for

   an Order Pursuant to 18 U.S.C. Section 2703(D), 707 F.3d 283, 290 (4th Cir. 2013). Thus, “to

   the extent the Court does not rely on the information in reaching its decision, no right of access

   applies.” Hunter v. Town of Mocksville, 961 F. Supp. 2d 803, 806 (M.D.N.C. 2013); see also In

   re Policy Mgmt. Sys. Corp., 67 F.3d 296 (table), Nos. 94-2254, 942341, 1995 WL 541623, at *3–

   4 (4th Cir. Sept. 13, 1995) (holding that documents filed in connection with a motion to dismiss

   were not judicial records because they were not considered by the court and noting that “[n]either

   the Supreme Court nor this Court has ever held that the mere filing of a document triggers the First

   Amendment guarantee of access.”).

          Under this authority, courts in this circuit routinely seal (or leave sealed) exhibits to

   dispositive motions if the court did not rely on them in ruling on the motions. See, e.g., Jones v.

   Lowe’s Cos., 402 F. Supp. 3d 266, 292–93 (W.D.N.C. 2019) (denying motion to unseal excerpts

   of summary judgment exhibits where the court “did not rely” on said excerpts), aff’d 845 F. App’x

   205 (4th Cir. 2021); Jackson v. JTM Capital Mgmt., LLC, No. TDC-19-1009, 2021 WL 1238565,

   at *4 (D. Md. Apr. 2, 2021) (“[B]ecause any other information is not specifically necessary to the

   resolution of the Motion for Summary Judgment . . . the Court will seal the specific exhibits as

   filed with the Motion for Summary Judgment.”); Syngenta Crop Prot., LLC v. Willowood, LLC,

   No. 1:15–cv–274, 2017 WL 1745531, at *3 (M.D.N.C. May 4, 2017) (“The parties seek to seal

   several exhibits on which the Court did not rely to determine the relevant evidentiary and summary


   3
    Plaintiffs incorrectly state that Defendants’ deferral argument is “new and untimely.” Obj. at 10.
   To the contrary, Defendants expressly raised this argument at the September 10, 2021 hearing.
   See 9/10/2021 Hr’g Tr. at 22:16–23:1.

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   judgment motions. Because the Court did not rely on these exhibits, they were not part of the

   adjudicative process. Therefore, these exhibits are not judicial records and the public does not

   have a right to access them.”); Reyazuddin v. Montgomery Cnty., 7 F. Supp. 3d 526, 560 (D. Md.

   2014) (granting motion to seal personnel records in part because the court did not rely on the

   substance of the documents in ruling on summary judgment), rev’d in part on other grounds, 789

   F.3d 407 (4th Cir. 2015). Because this authority effectively requires courts to defer ruling on

   motions to seal until the First Amendment right of access attaches, Judge Anderson did not rule

   “contrary to law” in similarly deferring here. This Court recognized as much at the October 20,

   2021 hearing when it decided to defer ruling on Capital One’s Motion to Strike that also implicated

   sealing concerns. See 10/20/2021 Hr’g Tr. at 35:2–20 (“[T]he Court is going to go ahead and

   decide the pending motions, class certification and summary judgment motions, on the present

   record and will defer ruling on this motion until after it rules on the pending motions.”).

          Plaintiffs’ Objection ignores this authority, instead arguing that Judge Anderson committed

   a constitutional violation by deferring his ruling. See Obj. at 10–11. Plaintiffs’ extreme position

   rests on taking snippets from Doe v. Public Citizen, 749 F.3d 246 (4th Cir. 2014), out of context.

   But that case is distinguishable. In Doe, the district court sealed, “in their entireties,” almost every

   document on the docket, including:

          (1) the pleadings and attachments thereto; (2) the motions, related briefing, and
          exhibits supporting (i) Company Doe’s motion for a preliminary injunction, (ii) the
          Commission’s motion to dismiss, (iii) Company Doe’s motion to amend its
          complaint, and (iv) the parties’ cross-motions for summary judgment; and (3) the
          amended pleadings as well as numerous other residual matters.

   Id. at 266 (emphasis added). Likewise, the court filed its memorandum opinion “with redactions

   to virtually all of the facts, the court’s analysis, and the evidence supporting its decision.” Id. at

   267. And finally, these documents—virtually the entire docket—were left under seal in their

   entirety for “nine months.” Id. at 272. Thus, the Doe court’s statement that “the work of the courts

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   is subverted” when courts delay sealing determinations (id.)—which Plaintiffs quote without

   providing any of the necessary context—must be understood in light of the extreme facts at issue

   in that case. Moreover, nothing in Doe indicates that Judge Anderson ruled “contrary to law.” In

   fact, Doe recognizes that the First Amendment right of access applies “only to particular judicial

   records and documents,” id. at 266 (emphasis added) (internal quotation marks omitted), and

   requires only that district judges make sealing determinations “as expeditiously as possible,” id. at

   272–73. Here, because the right of access does not attach until the Court considers or relies on the

   documents at issue, an “expeditious[]” ruling is not possible until that point.

   III.      WHILE IRRELEVANT TO THE COURT’S ANALYSIS HERE, THE HILTON
             FACTORS WEIGH IN DEFENDANTS’ FAVOR.

             Because Judge Anderson only deferred final action on the motions to seal, the Hilton v.

   Braunskill analysis that courts undertake when assessing whether to stay a final order pending

   appeal is not relevant to this Court’s determination of Plaintiffs’ Objection. But even if that

   analysis were relevant, it would counsel in Defendants’ favor.

             Hilton v. Braunskill sets out four factors: (1) the likelihood of success on the merits; (2)

   the risk of irreparable injury absent a stay; (3) the risk of substantial injury to other interested

   parties if a stay is granted; and (4) where the public interest lies. 481 U.S. at 776; see also GTSI

   Corp. v. Wildflower Int’l, Inc., No. 1:09cv123 (JCC), 2009 WL 3245396, at *1 (E.D. Va. Sept. 29,

   2009) (applying this test). All four of these factors weigh in favor of Defendants here.

          A. Defendants Have Demonstrated a Likelihood of Irreparable Harm.

             First, Defendants have demonstrated they would suffer irreparable injury. See Dkt. 2005

   at 8–9; Dkt. 2039 at 5–6. The information Defendants seek to keep under seal concerns (1)

   specific, technical details of their cybersecurity posture and current technology environment, and

   (2) competitively sensitive proprietary information, including trade secrets. To support these


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   assertions, Defendants filed detailed Confidential Memoranda and accompanying declarations

   pursuant to Judge Anderson’s instructions. Dkts. 1991; 1992. Those Memoranda set out—in

   document-by-document,       page-by-page,     and      redaction-by-redaction   detail—exactly     the

   information that Defendants seek to protect and the irreparable harm Defendants would suffer if

   the information were disclosed.        Importantly, Defendants demonstrated that much of the

   information could be used by malicious actors—such as adversarial state actors (like China’s

   People’s Liberation Army, which committed the Equifax data breach), rogue criminal hacking

   organizations (like DarkSide, which committed the Colonial Pipeline ransomware attack this year),

   and individual cybercriminals—to commit further cyberattacks against Defendants. See Dkt. 2005

   at 5 n.3.

           Moreover, Defendants have shown that the harm to them will be complete once the

   materials at issue are made public. Dkt. 2039 at 5–6. Once information about Defendants’ current

   cybersecurity infrastructure and proprietary trade secrets are made public, it cannot be reversed,

   and Defendants would effectively be deprived of any right to appeal. Accordingly, courts have

   recognized that overturning such an order would be meaningless once the documents are already

   in the public record. See, e.g., Senior Executives Ass’n v. United States, 891 F. Supp. 2d 745, 755

   (D. Md. 2012) (“[G]enerally speaking, the public disclosure of confidential information is

   irreparable.” (citing Ruckelshaus v. Monsanto Co., 463 U.S. 1315, 1317 (1983)); Cap. One Fin.

   Corp. v. Sykes, No. 3:20CV763, 2021 WL 2903241, at *14 (E.D. Va. July 9, 2021) (“[O]nce

   confidential information is disclosed to a competitor, the information cannot regain its secret

   status. . . . [A]ny further disclosure of the confidential information or customer lists at issue would

   result in irreparable harm to Capital One.”); Pari Respiratory Equip., Inc. v. Groskopf, No. CIV.A.

   3:07-CV-446, 2007 WL 2745322, at *2 (E.D. Va. Sept. 18, 2007) (“The company contends,



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   correctly, that the improper use or disclosure of confidential information constitutes irreparable

   harm[.]”).

          Although Plaintiffs are aware of these arguments, they make no attempt to address them in

   their Objection (likely because they cannot). Instead, Plaintiffs resort to inappropriately collapsing

   the separate “success on the merits” and “irreparable harm” factors. See Obj. at 24.

          Plaintiffs also argue that “[a]n order that requires a party to act in accord with their

   constitutional duties cannot cause harm.” Id. But Defendants have no “constitutional dut[y]” to

   disclose security sensitive materials, confidential business information, or trade secrets. In fact,

   courts recognize that parties’ interest in protecting such information overcomes the First

   Amendment right of access. See, e.g., Level 3 Commc’ns, LLC v. Limelight Networks, Inc., 611

   F. Supp. 2d 572, 581–82 (E.D. Va. 2009) (proprietary rights in trade secrets); United States ex rel.

   Kelly v. Serco, Inc., No. 11cv2975 WQH-RBB, 2014 WL 12675246, at *2–4 (S.D. Cal. Dec. 22,

   2014) (sealing “a variety of sensitive technical information” that “could be used by persons seeking

   to do harm [to] the United States” under First Amendment standard).4

       B. Defendants Have Demonstrated a Likelihood of Success on the Merits.

          Defendants also have shown a likelihood of success on the merits. See Dkt. 2005 at 5–7;

   Dkt. 2039 at 6–11. Specifically, Defendants demonstrated that Judge Anderson would have

   committed “clear error” by (1) prematurely ruling on the sealing issues, (2) applying the incorrect

   standards to the materials at issue, and (3) finding that the materials Defendants seek to protect

   were not worthy of protection.


   4
    Plaintiffs’ lone case, Giovani Carandola, Ltd. v. Bason, involved a preliminary injunction of a
   North Carolina statute that prohibited certain simulated erotic acts in licensed establishments that
   served alcohol. 303 F.3d 507, 510, 521 (4th Cir. 2002). Here, there is no state action, no violation
   of a First Amendment right or freedom, and no preliminary injunction. For these reasons (and a
   host of other ones), Plaintiffs’ case is inapposite.

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              1. Judge Anderson Would Have Committed Clear Error by Not Deferring His
                 Rulings.

          Defendants have shown that Judge Anderson would have committed clear error by ruling

   on the sealing motions before the First Amendment right of access attaches. Dkt. 2039 at 7–9. As

   shown above, the First Amendment right of access does not attach until a court relies on or

   considers materials filed in connection with a summary judgment motion. Courts routinely defer

   their sealing determinations for exactly this reason, and Plaintiffs’ arguments to the contrary fail.

   See supra Section II.B..

              2. Judge Anderson Would Have Committed Clear Error by Applying the
                 Incorrect Standards.

          Defendants have further shown that Judge Anderson would have committed clear error by

   applying the First Amendment standard to materials filed in connection with Defendants’ class

   certification oppositions and motion suggesting lack of subject matter jurisdiction, as he indicated

   at the September 10, 2021 hearing. Dkt. 2005 at 7–8; Dkt. 2039 at 9–10; see 9/10/2021 Hr’g Tr.

   at 15:20–25 (applying First Amendment standard to brief concerning subject matter jurisdiction);

   id. at 40:7–12 (applying First Amendment standard to class certification filing).

          With respect to the Motion Suggesting Lack of Subject Matter Jurisdiction, Fourth Circuit

   precedent is clear that the First Amendment right of access attaches only to “dispositive motion[s]”

   that “adjudicate[] substantive rights and serve[] as a substitute for a trial[.]” Rushford v. New

   Yorker Magazine, Inc., 846 F.2d 249, 252 (4th Cir. 1988). This Court’s determination of its own

   subject matter jurisdiction is not an adjudication of Plaintiffs’ substantive rights. In fact, if this

   Court determines that it lacks subject matter jurisdiction, then it necessarily lacks the power to

   adjudicate Plaintiffs’ substantive rights.

          In their Objection, Plaintiffs’ only argument conflates motions that are “dispositive” with

   motions that are “fact-intensive.” Obj. at 11. Plaintiffs cite no authority in support of this

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   argument, which is at odds with Fourth Circuit precedent holding that the right of access attaches

   only to motions that “adjudicate[] substantive rights” and serve as “a substitute for . . . trial.”

   Rushford, 846 F.2d at 252. The Court’s determination of its subject matter jurisdiction may be

   “fact-intensive,” but that does not mean it is “dispositive.” In fact, any dismissal for lack of subject

   matter jurisdiction would necessarily be without prejudice.

          With respect to the Motion for Class Certification, courts in this circuit have squarely held

   that the First Amendment standard does not apply to documents filed in connection with class

   certification. See, e.g., Hatch v. Demayo, No. 1:16CV925, 2020 WL 1676953, at *2 (M.D.N.C.

   Apr. 6, 2020) (“‘There does not appear to be a First Amendment right of access’ to briefs and

   exhibits filed in connection with a motion for class certification.” (citation omitted)); Cochran v.

   Volvo Grp. N. Am., LLC, 931 F. Supp. 2d 725, 728–29 (M.D.N.C. 2013) (“The Court has located

   no case finding a First Amendment right of access to class certification briefing and exhibits, and

   the Court will not find such a right today.” (emphasis added)).5

          Plaintiffs argue that the First Amendment right of access attaches because such documents

   are “‘useful in the judicial process.’” Obj. at 20 (quoting In re Interior Molded Doors Antitrust

   Litig., No. 3:18CV718, 2020 WL 7259153 at *6 (E.D. Va. Dec. 10, 2020)). But this is not the

   standard, as discussed above. See Rushford, 846 F.2d at 252. It is also irrelevant that class



   5
     Plaintiffs have previously argued that courts have “applied the First Amendment standard to
   sealing of class-certification [sic] materials.” Dkt. 2032 at 9 (citing Minter v. Wells Fargo Bank,
   N.A., Nos. WMN-07-3442, WMN-08-1642, 2010 WL 5418910, *6 (D. Md. Dec. 23, 2010)). But
   Minter merely states that the plaintiffs argued that the First Amendment standard applies to class
   certification. See id. (“Given that the cases plaintiffs cite are inapposite with regard to the bulk of
   discovery material at issue, plaintiffs appropriately focus their First Amendment public right of
   access argument on discovery material filed with the Court in conjunction with Plaintiffs’ Class
   Certification Memorandum.”). More to the point, the Minter court explicitly stated that it “need
   not reach the issue of whether a common law or First Amendment public right of access attaches
   to the documents filed as exhibits to Plaintiffs’ Class Certification Memorandum.” Id. at *14.

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   certification may “as a practical matter” have “dispositive consequences.” Soutter v. Equifax Info.,

   Servs., LLC, 299 F.R.D. 126, 130 (E.D. Va. 2014). As the court in Cochran recognized, class

   certification is not an adjudication of substantive rights, but “a creature of the Federal Rules of

   Civil Procedure” that was not authorized until 1938. 931 F. Supp. 2d at 728. In fact, if this Court

   declines to certify a class, then putative class members may still bring individual suits against

   Defendants. And if this Court certifies a class, that is not an adjudication of Plaintiffs’ claims—

   rather, it is merely a determination that a class action may be a superior method for doing so.6

              3. Judge Anderson Would Have Committed Clear Error by Unsealing the
                 Materials at Issue.

          Defendants also have shown Judge Anderson would have committed clear error by

   unsealing the materials at issue. Dkt. 2005 at 7; Dkt. 2039 at 10–11. As Defendants have described

   above, the materials contain security-sensitive information, confidential business information, and

   trade secrets and thus are properly sealed under the First Amendment standard. See supra pp. 16–

   17.   Pursuant to Judge Anderson’s instructions, Defendants filed Confidential Memoranda

   containing extensive additional support for why the materials contain information that falls into

   the categories Judge Anderson identified should be sealed. See supra pp. 6–7. Plaintiffs’ only

   argument is to baldly assert that Defendants’ Confidential Memoranda “should be disregarded”

   and that “Defendants have failed . . . to submit sufficient evidence that meets the[] burden for

   sealing information[.]” Obj. at 22 & n.5. Plaintiffs are wrong, but Judge Anderson has not yet




   6
     Plaintiffs also make the puzzling contention that Capital One “acknowledged” and “admi[tted]”
   that class certification is “dispositive in nature” because Capital One “fil[ed] its summary judgment
   motion during class certification proceedings.” Obj. at 20–21. But Capital One’s decision to file
   its Motion for Summary Judgment early did not transform a non-dispositive motion into a
   dispositive one.

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   ruled on the Confidential Memoranda, so Plaintiffs’ argument that the Memoranda should be

   “disregarded” is irrelevant to the issue before this Court and should be rejected.7

       C. Defendants Have Demonstrated Deferral Will Not Injure Plaintiffs or the Public.

          Plaintiffs will not suffer any substantial injury from deferral of a ruling on the motions to

   seal. Dkt. 2005 at 9; Dkt. 2039 at 11–13. Plaintiffs’ counsel have unfettered access to unsealed,

   unredacted versions of all the materials at issue. Dkt. 2005 at 9; Dkt. 2039 at 12–13. Judge

   Anderson expressly noted this as a basis for his deferral. See Dkt. 2050 at 3 (finding that

   “plaintiffs’ counsel has access to the documents that are the subject of the motions to seal”).

   Whether the briefs and exhibits are also filed on the public docket has no impact on Plaintiffs’

   ability to access the documents or litigate this case. And if, for some reason, one of the

   Representative Plaintiffs requires access to these materials, the Amended Stipulated Protective

   Order allows Plaintiffs’ counsel to request that Defendants consent to a particular Plaintiff or

   Plaintiffs having access to such information. See Dkt. 368 at 9 § V(A), 15–16 § VI. Tellingly, no

   Representative Plaintiff has made such a request to date.

          Plaintiffs’ Objection largely dodges discussion of this factor and seeks to conflate it with

   the public interest factor addressed below (presumably because Plaintiffs recognize they can show

   no actual harm from the stay). See infra Section III.D. However, Plaintiffs do make the strained

   argument that they have been “damaged” by “having to file at least 54 sealing briefs since class

   certification papers were filed in April 2021[.]” Obj. at 25 n.6. This has nothing to do with whether

   the deferral at issue—which post-dates those sealing briefs—injures Plaintiffs. Moreover, to the



   7
    Plaintiffs also argue that Defendants cannot show a likelihood of success on the merits because
   “they failed to timely object to the Unsealing Order under Rule 72(a).” Obj. at 23–24. As
   discussed above, Judge Anderson’s determinations were not final, and Defendants were not
   required to object to them by September 27, 2021. See Section II.A supra.

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   extent Plaintiffs complain that the sealing briefs pertaining to the current dispute are

   “unnecessary,” that is a problem of Plaintiffs’ own making. The Objection makes no showing that

   Plaintiffs have been injured by the deferral.

       D. Deferral Is Not Contrary to the Public Interest; It Is in the Public Interest.

          Finally, the public interest favors a deferral. Dkt. 2005 at 9–10; Dkt. 2039 at 11–13. As

   Plaintiffs should recognize, the public interest is served by ensuring the safety and security of

   Defendants’ cyber operations and the public’s PII in light of the growing threat of cybercriminals.8

   Plaintiffs argue that “the Unsealing Order . . . protects the vital First Amendment interest in having

   an open judicial system,” Obj. at 14, and that maintaining the documents under seal constitutes

   “[t]he loss of [a] First Amendment freedom[],” id. at 25 (quoting Legend Night Club v. Miller, 637

   F.3d 291, 302–03 (4th Cir. 2011) & citing Giovani Carandola, 303 F.3d at 521).9 But as

   Defendants have explained, courts recognize that a party’s interests in protecting security-sensitive

   information, confidential business information, or trade secrets overcome the First Amendment

   right of access. See supra p. 18.

          Preventing the unnecessary disclosure of security-sensitive information of a national bank

   and a cloud services provider that adversarial state actors or cybercriminals could exploit to

   commit cyberattacks furthers—not harms—the public interest. And there is no evidence that the



   8
     This Court, like others across the country, has also recognized this risk. See Second Amended
   Standing Order, In re: Procedures for the Filing, Service, and Management of Highly Sensitive
   Documents (E.D. Va.) (adopting new procedures for the protection of highly sensitive documents
   in response to “recent disclosures of widespread breaches of both private sector and government
   computer systems”).
   9
    Plaintiffs’ cited cases—both of which involve state action, injunctions, the First Amendment right
   of free expression, and statutes that regulated the serving of alcohol at erotic dance clubs—are
   completely inapposite for those reasons. See Legend Night Club, 637 F.3d at 294–95, Giovani
   Carandola, 303 F.3d at 509–11; see also n.4 supra.

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   public disagrees. As Judge Anderson recognized in his deferral order, the materials at issue have

   been sealed for the entire duration of this litigation, yet no member of the public has ever objected.

   See Dkt. 2050 at 3 (“[N]o opposition to these motions to seal has been asserted by any nonparty

   . . . .”).

                While Plaintiffs purport to devote nine pages of their 26-page brief to addressing the

   “public interest,” see Obj. at 14–23, most of Plaintiffs’ arguments are irrelevant to that factor.

   Instead, Plaintiffs conflate their own interests with those of the public at large, arguing that

   “Plaintiffs’ counsel . . . represent[s] their interests.” Obj. at 25; see also id. at 26 (“Plaintiffs’

   oppositions to Defendants’ motions to seal therefore represent the interests of the class and the

   public at large.”). But Plaintiffs’ position in this dispute is at odds with the interests of the putative

   class members and the public. Manufacturing what are essentially procedural waiver arguments,

   Plaintiffs seek to immediately unseal security-sensitive information that malicious actors can use

   to perpetrate further cyberattacks against Defendants or other AWS customers, which imperils the

   very people Plaintiffs claim to represent. This Court should reject Plaintiffs’ transparent attempt

   to gain leverage and uphold Judge Anderson’s Order deferring ruling on the motions to seal

   consistent with Fourth Circuit precedent.

                                                 CONCLUSION

                For the reasons set forth above, the Court should overrule Plaintiffs’ Objection.



   Dated: November 15, 2021                   Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

          I hereby certify that on November 15, 2021, I caused the foregoing document to be filed

   with the Clerk of Court using the CM/ECF system, which will send notice of electronic filing to

   all counsel of record.



                                                      /s/
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